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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                      §
                                                         §
                                Plaintiff,               §
                                                         §
 vs.                                                     § Adv. Proc. No. 21-03005-sgj
                                                         §
 NEXPOINT ADVISORS, L.P., JAMES                          § Case No. 3:21-cv-00880-C
 DONDERO, NANCY DONDERO, AND                             §
 THE DUGABOY INVESTMENT TRUST,                           §
                                                         §
                                Defendants.              §
                                                         §



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                                  §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                  §
                                  §
                    Plaintiff,
                                  § Adv. Proc. No. 21-03004-sgj
                                  §
 vs.
                                  § Case No. 3:21-cv-00881-X
                                  §
 HIGHLAND CAPITAL MANAGEMENT FUND
                                  §
 ADVISORS, L.P.,
                                  §
                                  §
                    Defendant.    §
                                           §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                           §
                                           § Adv. Proc. No. 21-03003-sgj
                               Plaintiff,
                                           §
                                           § Case No. 3:21-cv-01010-E
 vs.
                                           §
                                           §
 JAMES DONDERO, NANCY DONDERO, AND
                                           §
 THE DUGABOY INVESTMENT TRUST,
                                           §
                                           §
                               Defendants.
                                           §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                           §
                                           §
                            Plaintiff,
                                           § Adv. Proc. No. 21-03006-sgj
                                           §
 vs.
                                           § Case No. 3:21-cv-01378-N
                                           §
 HIGHLAND CAPITAL MANAGEMENT
                                           §
 SERVICES, INC., JAMES DONDERO,
                                           §
 NANCY DONDERO, AND THE
                                           §
 DUGABOY INVESTMENT TRUST,
                                           §
                                           §
                             Defendants.
                                           §
                                           §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                           § Adv. Proc. No. 21-03007-sgj
                                           §
                             Plaintiff,
                                           § Case No. 3:21-cv-01379-X
 vs.
                                           §
                                           §
 HCRE PARTNERS, LLC (n/k/a NexPoint
                                           §
 Real Estate Partners, LLC), JAMES
                                           §
 DONDERO, NANCY DONDERO, AND
                                           §
 THE DUGABOY INVESTMENT TRUST,
                                           §
                                           §
                             Defendants.


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                                  DEFENDANTS’ MOTION TO
                                CONSOLIDATE THE NOTE CASES

         Defendants1 hereby file this Motion to Consolidate five related cases (the “Note Cases”)

involving promissory notes reflecting loans made by Plaintiff-Debtor Highland Capital

Management, L.P., requesting the Court to consolidate the Note Cases into Case No. 3:21-cv-

00881, to be heard by the Honorable Judge Starr for all purposes other than trial, and additionally

to consolidate all of the cases other than Case No. 3:21-cv-00881-X for trial. In support,

Defendants show as follows:

                                I.      JURISDICTION AND VENUE

         1.       This Court has jurisdiction over the Motion pursuant to Sections 1331 and 1367 of

Title 11 of the United States Code.

         2.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.

                                             II.      RELIEF

         3.       Defendants request that this Court issue the proposed form order attached as

Exhibit A (the “Proposed Order”) hereto.

         4.       For reasons set forth more fully in Defendants’ Memorandum of Law in Support of

their Motion to Consolidate the Note Cases (the “Memorandum in Support”), Defendants request

that this Court consolidate the Note Cases under Case No. 3:21-cv-00881, to be heard by the

Honorable Judge Starr, who already presides over two of the five above-captioned Note Cases,

and several other cases arising out of the Case No. 19-34054-sgj11, pending in the United States

Bankruptcy Court for the Northern District of Texas (the "Highland Bankruptcy").




1
 As used herein, the term “Defendants” includes all named Defendants in the above-captioned proceedings, unless
otherwise specified.

                                                      1
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         5.       In accordance with Rule 7.1 of the Local Civil Rules of the United States District

Court for the Northern District of Texas, Defendants are filing contemporaneously herewith and

in support of their Motion: (1) the Memorandum in Support, and (2) their Appendix in Support of

Defendants’ Motion to Consolidate the Note Cases (the “Appendix”).

         6.       Based on the arguments presented in the Memorandum in Support and the exhibits

included within the Appendix, Defendants are entitled to the relief requested herein and as set forth

in the Proposed Order.

         7.       Notice of this Motion has been provided to all parties.

         WHEREFORE, Defendants respectfully request this Court enter the Proposed Order in the

form annexed hereto as Exhibit A granting the relief requested herein, and grant Defendants such

other and further relief as the Court may deem proper.

Dated: December 10, 2021

                                                Respectfully submitted,

                                                /s/Deborah Deitsch-Perez
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                                                SERVICES, INC. AND NEXPOINT REAL ESTATE
                                                PARTNERS, LLC




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                                   TRUST




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                                                /s/Davor Rukavina
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                                                HIGHLAND CAPITAL MANAGEMENT FUND
                                                ADVISORS, L.P.


                                CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that on December 7, 2021, counsel for Defendants
conferenced with Plaintiff-Debtor’s counsel regarding the relief requested herein as detailed more
fully in the accompanying Declaration of Deborah Deitsch-Perez. The parties were unable to reach
an agreement regarding the issues, and Debtor filed its own (improper) motion to consolidate
solely in the third-lowest District Court case filed, with no filing in the first-filed (or any other of)
the Note Cases. Defendants therefore understand this Motion is opposed.

                                /s/Deborah Deitsch-Perez______________________________
                                Deborah Deitsch-Perez




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